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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

IN RE:                                      :
                                            :
BOY SCOUTS OF AMERICA AND                   :      Bankruptcy Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,                          :
                                            :
              Debtor.                       :
                                            :
                                            :
KRAUSE & KINSMAN, et al.,                   :
                                            :
              Appellants,                   :
                                            :
         v.                                 :      Civil Action No. 21-1778-RGA
                                            :      Bankr. BAP No. 21-86
CENTURY INDEMNITY, CO., et al.,             :
                                            :
              Appellees.                    :


                                          ORDER



              WHEREAS, the above-captioned case was stayed on October 12, 2022, due to

proceedings pending before the United States Bankruptcy Court for the District of Delaware;

              NOW THEREFORE, IT IS HEREBY ORDERED that, the above-captioned case

is ADMINISTRATIVELY CLOSED. The parties shall promptly notify the Court when the

Bankruptcy proceedings have been resolved so that this case may be reopened and other

appropriate action may be taken.




October 12, 2022                     /s/ Richard G. Andrews
   DATE                             UNITED STATES DISTRICT JUDGE
